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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )


                               OPINION

    In the retrial of this public-corruption case, the

government sought the admission of certain out-of-court

statements made by the late defendant Joseph R. Crosby.*

Defendant Milton E. McGregor objected to their admission

on Confrontation Clause grounds.               The court overruled

McGregor’s objection and admitted the evidence.                     This

opinion explains why.



    * Given the numerous opinions already issued in this
case, the court assumes a certain familiarity with the
facts.   For a thorough discussion of this litigation,
including the need for a retrial, see United States v.
McGregor, ___ F. Supp. 2d ___, 2011 WL 5025835 (M.D. Ala.
Oct. 20, 2011).
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                                   I.

    This retrial of McGregor and five other defendants

concerns allegations of bribery at the highest levels of

Alabama     government.         Specifically,        the     defendants

allegedly offered and accepted bribes to pass Senate Bill

380 (SB380), which would have authorized a constitutional

referendum to legalize electronic bingo.                Amongst other

counts, McGregor was charged with bribing Crosby with

$ 3,000 monthly payments in 2009 and 2010.                 At the time,

Crosby served as a legislative analyst with Alabama’s

Legislative Reference Service (LRS) and was responsible

for drafting SB380.

    The government moved to admit “Statements of Economic

Interests” that Crosby filed while employed at LRS.

These     documents    are    mandatory      filings       for   Alabama

employees who earn more than a threshold income.                     The

purpose of the forms is to encourage transparency in

government and reveal potential conflicts of interest.



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The forms require employees to list their income, their

spouse’s income, real estate holdings, stock investments,

and consulting services.          Each statement concludes with

a “DECLARATION OF REPORTING PERSON,” which provides:

          “I have read and completed the Statement
          of Economic Interests.      Form ASEC-1
          (Revised), and do swear (or affirm) that
          the information contained in said
          Statement of Economic Interests is true
          and correct.   I fully understand that
          anyone who violates the disclosure
          provision of this Act shall be subject
          to a fine of $ 10.00 a day not to exceed
          $ 1,000 annually.     I also understand
          that any attachments that I place with
          this form become a part of this public
          record.”

Ex. 1192B, at 5.

    On   the    day   before      the   scheduled     start    of   this

retrial, defendant Crosby died of natural causes.                Crosby

had been charged with accepting bribes from McGregor, and

Crosby’s Statements of Economic Interests were admitted

at the first trial to establish his consciousness of

guilt.    But with Crosby no longer a defendant, McGregor

moved    to    exclude      the     statements       based     on    the



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Confrontation       Clause.        According      to    McGregor,     the

declaratory        signatures      at    the   conclusion      of     the

statements transformed these filings into testimonial

hearsay.



                                   II.

      The   Confrontation       Clause     prohibits     the    use      of

testimonial     hearsay     without      giving   the    defendant       an

opportunity to cross-examine the witness.                  But when a

statement is not hearsay because it is not admitted for

the   truth   of    the   matter    asserted,     the    Confrontation

Clause is not implicated.          In Crawford v. Washington, 541

U.S. 36 (2004), the Supreme Court explained that the

Confrontation Clause “does not bar the use of testimonial

statements for purposes other than establishing the truth

of the matter asserted.”         Id. at 59 n.9.        This limitation

mirrors Federal Rule of Evidence 801(c), which defines

hearsay as out-of-court statements offered “in evidence




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to    prove     the    truth      of    the    matter   asserted       in    the

statement”

       Courts       have        frequently       recognized         that     the

Confrontation Clause permits statements that are not

admitted      for     the   truth       of    the   matter      asserted.    In

Tennessee v. Street, 471 U.S. 409 (1985), the Supreme

Court held that an accomplice’s confession was admissible

to rebut the defendant’s testimony that his confession

was coerced.          Id. at 414.         The defendant in Street was

charged with participating in a robbery that quickly

transformed         into    a    brutal       murder.      At      trial,    the

prosecutor relied on a confession that the defendant had

made to a sheriff.                The defendant testified that his

confession was coercively derived from an accomplice's

written confession, claiming that the sheriff read from

the accomplice's confession and directed the defendant

to say the same thing.                   In rebuttal, the prosecutor

called the sheriff, who denied that the defendant was

read    the     accomplice's           confession    and     who    read    that



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confession     to   the   jury     after    the   trial    judge     had

instructed the jury that the confession was not admitted

for the purpose of proving its truthfulness but for the

purpose of rebuttal only.          The prosecutor then elicited

from the sheriff testimony emphasizing the differences

between the defendant’s confession and the accomplice's

confession.     The    Supreme     Court    reasoned      that,     “The

nonhearsay aspect of [the accomplice]’s confession--not

to prove what happened at the murder scene but to prove

what happened when [the defendant] confessed--raises no

Confrontation Clause concerns.” Id.

    This Rule 801(c) limitation has been endorsed by the

Eleventh     Circuit    Court     of   Appeals    in   post-Crawford

decisions.     In United States v. Jiminez, 564 F.3d 1280

(11th Cir. 2009), two brothers were found inside a house

during   a   drug     raid.      One   of   the   brothers,       Jesus,

initially    denied     knowing    about    210   marijuana       plants

discovered in part of the house.            The police next spoke

with Jisklif, who confirmed that Jesus assisted him in



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preparing drugs. The police then went back to ask Jesus

more    questions       about     the   drugs;         during        this   second

questioning,       Jesus    confessed            to    his        involvement   in

growing marijuana. Id. at 1283-84.                            The trial court

admitted      Jisklif’s     statement         to      show    why     the   police

questioned Jesus a second time, not for the truth of the

matter asserted.         The Eleventh Circuit held that when an

out-of-court statement is admitted “for a purpose other

than    for      the    truth     of    the        matter         asserted,     the

admissibility of that statement does not violate the

Confrontation          Clause.”         Id.      at        1287    (emphasis     in

original).

       Indeed,     “[t]here       can       be        no     doubt     that     the

Confrontation          Clause   prohibits          only       statements       that

constitute impermissible hearsay.” Id. at 1286 (emphasis

in original).          See also United States v. Augustin, 661

F.3d 1105, 1128-29 (11th Cir. 2011) (adopting similar

rationale); United States v. O’Sullivan, 361 F. App’x

993, 997-98 (11th Cir. 2010) (same).                               Other federal



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courts of appeals have also adopted the Rule 801(c)

limitation.      See, e.g., United States v. Faulkner, 439

F.3d 1221, 1226 (10th Cir. 2006) (“One thing that is

clear from Crawford is that the [Confrontation] Clause

has no role unless the challenged out-of-court statement

is offered for the truth of the matter asserted in the

statement.”); United States v. Stewart, 433 F.3d 273, 291

(2d Cir. 2006) (“Crawford expressly confirmed that the

categorical exclusion of out-of-court statements that

were not subject to contemporaneous cross-examination

does not extend to evidence offered for purposes other

than to establish the truth of the matter asserted.”).

    The question, then, is whether the Statements of

Economic Interests are hearsay as defined by Rule 801(c).



                                 III.

    The    government     contended      that    the   Statements        of

Economic Interests were not hearsay because they were not

being admitted for the truth of the matter asserted.                 The



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government introduced the statements to establish the

following chronology:

    ! On April 21, 2009, Crosby’s filed a Statement of
    Economic Interests for calendar year 2008 and did not
    list any income received from McGregor or his
    companies. Gov’t Ex. 1272A.

    ! Shortly after passage of SB380 in March 2010, the
    government’s corruption investigation became public.

    ! On April 20, 2010, Crosby filed his Statement of
    Economic Interests for calendar year 2009 and did not
    list any income from McGregor or his companies.
    Gov’t Ex. 1272B.

    ! In August 2010, Crosby filed addenda to his 2008
    and 2009 Statements of Economic Interests.      These
    addenda stated that Crosby received between $ 10,000
    and $ 50,000 in “miscellaneous passive income” from
    “M.C.G.P., Inc.” in both calendar year 2008 and 2009.
    Gov’t Ex. 1272C.

    ! In October 2010, the indictment was issued.

    ! On April 11, 2011, Crosby filed a Statement of
    Economic Interests for the 2010 calendar year, which
    listed “MCGP” as a source of more than $ 5,000 in
    consulting income. Gov’t Ex. 1272D.

    The court concluded that the Statements of Economic

Interests were admissible to rebut McGregor’s contention

that the $ 3,000 monthly payments were for Crosby’s work

as a consultant for Macon County Greyhound Park.                   This

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argument   had     been    a   consistent        and   major      theme   of

McGregor’s defense.            For example, McGregor’s counsel

asserted in opening statements that Crosby was paid as a

consultant.      Feb. 9, 2012, Trial Transcript (Doc. No.

2313) at 1-108 to 1-109.         And during cross-examination of

an LRS employee, McGregor’s counsel strongly implied that

the payments were for consulting work.                  Feb. 10, 2012,

Trial Transcript (Doc. No. 2317) at 2-180.

    The    timeline       of   Crosby’s       Statements     of   Economic

Interests served as rebuttal evidence for at least five

reasons.    First, Crosby’s initial failure to report any

income from McGregor or his companies cut against the

argument     that     there      was      a     legitimate-employment

relationship.      Second, the timing of the addenda rebutted

McGregor’s “consulting services” argument because Crosby

reported     the    income       only         after    the     corruption

investigation became public.              Third, Crosby listed the

income as coming from “MCGP,” an obscure acronym for

McGregor’s Macon County Greyhound Park.                 Fourth, Crosby



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changed how he classified his income from McGregor.                         In

the 2008 and 2009 addenda, Crosby described the monthly

payments as “miscellaneous passive income.” By contrast,

the 2010 statement listed the income as consulting work.

Finally, Crosby’s classification of the monthly payments

as “consulting” work was done only after his indictment.

       To sum up, the statements provided rebuttal evidence

by juxtaposing the filings with Crosby’s knowledge of the

corruption investigation.             Even absent a comparison to

the investigation, the statements were contradictory with

each other.       Viewed from this perspective, the government

did not admit the statements for their truth, but rather

to     highlight       their   incompatibility        with    McGregor’s

version of events.             The statements were admitted to

establish that the payments were not consulting income,

but the statements did not, and were not submitted to,

resolve what the payments actually were:                   the 2008 and

2009 statements did not show what the payments were; no

contended       that    the    payments    were    passive     income       as



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reflected     in   the    2008     and    2009    addenda;     and    the

government     did      not    argue     that    the   payments      were

consulting fees, though they were reflected as such in

the 2010 statement.            As in Tennessee v. Street, this

evidence is admissible to rebut an argument made by the

defendant.

    Moreover,      in    Street,    Justice      Brennan,    joined      by

Justice Marshall, noted with emphasis in his concurrence

the following: “With respect to the State's need to admit

the confession for rebuttal purposes, it is important to

note that [the defendant] created the need to admit the

statement by pressing the defense that his confession was

a coerced imitation of [the accomplice]’s out-of-court

confession.    Also, the record contains no suggestion that

the State was engaged in any improper effort to place

prejudicial hearsay evidence before the jury.                 Under the

circumstances      of    the   present    case,    admission    of    the

out-of-court confession for nonhearsay rebuttal purposes

raises no Confrontation Clause problems.”                   Street, 471



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U.S.    at   417-18    (Brennan,        J.,    concurring)     (internal

citation omitted).         Similarly here, when McGregor put

forward, as a major part of his defense, the contention

that the monthly statements to Crosby were consulting

fees (rather than bribes), the focus turned to whether

the government could rebut this contention.                     Had the

government been denied the opportunity to introduce the

Statements of Economic Interests in rebuttal, the jury

would    have   been   impeded     in    its    effort    to   determine

whether McGregor’s contention was true.                  The government

did not engage in any improper effort to place before the

jury the Statements of Economic Interests.

       To be sure, unlike in Street, this court did not give

an instruction limiting the statements’ introduction for

rebuttal purposes. However, here all defendants declined

such an instruction.       Therefore, while not waiving their

Confrontation Clause objections, the defendants did not

want a limitation on the statements’ use once the court

had decided they were admissible.



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                               *     *    *

    Accordingly,       for     the       above   reasons,   the   court

admitted    the   Statements         of    Economic   Interests     over

defendant     Milton      E.    McGregor’s         objection      on     a

Confrontation Clause ground.

    DONE, this the 8th day of March, 2012.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
